              Case 20-21436-SLM                   Doc 1      Filed 10/08/20 Entered 10/08/20 09:49:17                              Desc Main
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                SITO Mobile Solutions, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  123 Town Square Place, #419
                                  Jersey City, NJ 07310
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Hudson                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.sitomobile.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    SITO Mobile Solutions, Inc.                                                                   Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 1810

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                               The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                                The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                  A plan is being filed with this petition.
                                                                  Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                  The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                  The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See Attachment                                                  Relationship
                                                  District                                 When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
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Debtor   SITO Mobile Solutions, Inc.                                                               Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                       50-99                                            5001-10,000                                 50,001-100,000
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    SITO Mobile Solutions, Inc.                                                              Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      October 7, 2020
                                                  MM / DD / YYYY


                             X   /s/ Thomas Candelaria                                                    Thomas Candelaria
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   CEO




18. Signature of attorney    X   /s/ Daniel M. Stolz                                                       Date October 7, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Daniel M. Stolz
                                 Printed name

                                 WASSERMAN, JURISTA & STOLZ, P.C.
                                 Firm name

                                 110 Allen Road
                                 Suite 304
                                 Basking Ridge, NJ 07920
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (973) 467-2700                Email address      attys@wjslaw.com

                                 028461980 NJ
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                     page 4
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Debtor     SITO Mobile Solutions, Inc.                                                       Case number (if known)
           Name




Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF NEW JERSEY

Case number (if known)                                                    Chapter     11
                                                                                                                           Check if this an
                                                                                                                           amended filing




                                                       FORM 201. VOLUNTARY PETITION

                                                    Pending Bankruptcy Cases Attachment



Debtor     SITO Mobile R&D, IP LLC                                                  Relationship to you               Affiliate
District   New Jersey                                 When                          Case number, if known
Debtor     SITO Mobile, Ltd.                                                        Relationship to you               Parent Company
District   New Jersey                                 When     10/08/20             Case number, if known             20-21435




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                       page 5
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            Case 20-21436-SLM                          Doc 1          Filed 10/08/20 Entered 10/08/20 09:49:17                   Desc Main
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 Fill in this information to identify the case:

 Debtor name         SITO Mobile Solutions, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          October 7, 2020                         X /s/ Thomas Candelaria
                                                                       Signature of individual signing on behalf of debtor

                                                                       Thomas Candelaria
                                                                       Printed name

                                                                       CEO
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                 Case 20-21436-SLM                          Doc 1        Filed 10/08/20 Entered 10/08/20 09:49:17                                       Desc Main
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 Fill in this information to identify the case:
 Debtor name SITO Mobile Solutions, Inc.
 United States Bankruptcy Court for the: DISTRICT OF NEW JERSEY                                                                                       Check if this is an

 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Adobe Systems, Inc.                                             Trade debt                                                                                           $3,267,528.78
 f/k/a TubeMogul, Inc.
 29322 Network Place
 Chicago, IL
 60673-1293
 Small Business                                                  PPP Loan                                                                                             $1,292,100.00
 Administration
 409 3rd St. SW
 Washington, DC
 20416
 Pepper Hamilton LLP                                             Trade debt                                                                                           $1,222,150.14
 New York Times
 Building 37th Floor
 620 Eighth Ave
 New York, NY
 10018-1405
 Gavin Scotti                                                    Loan                                                                                                 $1,217,993.00
 616 Purchase Street
 Rye, NY 10580
 Amazon Web                                                      Trade debt                                                                                             $878,910.77
 Services, Inc.
 PO Box 84023
 Seattle, WA
 98124-8423
 Ribbow Media Group                                              Trade debt                                                                                             $856,359.74
 LLC
 900 Division Street
 Nashville, TN 37203
 SEM Internet Reklam                                             Trade debt                                                                                             $728,649.01
 Hizmetleri ve D. A.S
 Esentepe Mah. Kore
 Sehitleri Cad. NO:19
 Zincirlikuyu / Istanbul
 Oath (Americas) Inc.                                            Trade debt                                                                                             $708,287.10
 General Post Office
 PO Box 5696
 New York, NY
 10087-5696

Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    SITO Mobile Solutions, Inc.                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Invenire Partners, LP                                           Loan                                                                                                   $683,208.00
 90 Grove St., Suite
 108
 Ridgefield, CT 06877
 Stephen Baksa                                                   Loan                                                                                                   $679,349.00
 2 Woods Lane
 Chatham, NJ 07928
 MediaJel, Inc.                                                  Trade debt                                                                                             $590,000.00
 1475 North Broadway
 Suite 400
 Walnut Creek, CA
 94956
 Hiroaki Aoyama                                                  Loan                                                                                                   $505,425.00
 3-7-21
 Yamamoto-cho
 Mianami
 Yao City, Osaka
 JAPAN
 Innominds Software,                                             Trade debt                                                                                             $465,000.00
 Inc.
 2055 Junction Ave,
 Suite 122
 San Jose, CA 95131
 Chris Scotti                                                    Loan                                                                                                   $443,908.00
 41 Sturgis Road
 Bronxville, NY 10708
 Orrick, Herrington &                                            Trade debt                                                                                             $408,100.22
 Sutcliffe LLP
 2121 Main Street
 Wheeling, WV 26003
 Luis Serra                                                      2019 employee                                                                                          $400,000.00
 17015 164th Avenue                                              sales commissions
 NE
 Woodinville, WA
 98072
 Scott Kauffman                                                  Interim CEO                                                                                            $386,666.66
                                                                 terminated; accrued
                                                                 pay payable on
                                                                 3/22/2022
 Clearcode S.A.                                                  Trade debt                                                                                             $381,672.56
 (Digimedia)
 Sw. Antoniego
 2/4 50-073
 Wroclaw
 POLAND
 Smaato, Inc.                                                    Trade debt                                                                                             $375,000.00
 PO Box 740727
 Los Angeles, CA
 90074-0727




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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 Debtor    SITO Mobile Solutions, Inc.                                                                        Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 IPFS Financing                                                  financing loan                                                                                         $351,000.00
 (Lockton Companies)                                             agreement for
 301 W. 11th St., 4th                                            annual D&O and
 Fl.                                                             cyber insurance
 Kansas City, MO                                                 premium
 64105




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 3

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 Fill in this information to identify the case:

 Debtor name            SITO Mobile Solutions, Inc.

 United States Bankruptcy Court for the:                       DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $           592,565.00

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $           592,565.00


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $                    0.00


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $        1,607,050.18

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$       19,412,256.37


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $         21,019,306.55




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
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 Fill in this information to identify the case:

 Debtor name         SITO Mobile Solutions, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                        Check if this is an
                                                                                                                                        amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                       12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                    Current value of
                                                                                                                                        debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                              Last 4 digits of account
                                                                                                             number
                    Wells Fargo Bank (account is same as
           3.1.     parent company, SITO Mobile, Ltd.)                       Checking                        5994                                  $140,000.00



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                    $140,000.00
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                            121,000.00   -                                0.00 = ....                          $121,000.00
                                              face amount                        doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                page 1
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                               Best Case Bankruptcy
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 Debtor         SITO Mobile Solutions, Inc.                                                       Case number (If known)
                Name


           11b. Over 90 days old:                           10,831,065.00    -                       10,500,000.00 =....                    $331,065.00
                                              face amount                           doubtful or uncollectible accounts



 12.       Total of Part 3.                                                                                                             $452,065.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.


 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

        No. Go to Part 8.
        Yes Fill in the information below.

           General description                                                   Net book value of         Valuation method used   Current value of
                                                                                 debtor's interest         for current value       debtor's interest
                                                                                 (Where available)

 39.       Office furniture

 40.       Office fixtures

 41.       Office equipment, including all computer equipment and
           communication systems equipment and software
           employee laptops, all over 3 years old (same as
           parent company, SITO Mobile, Ltd.)                                                   $0.00                                            $500.00



 42.       Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
           books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
           collections; other collections, memorabilia, or collectibles

 43.       Total of Part 7.                                                                                                                     $500.00
           Add lines 39 through 42. Copy the total to line 86.

 44.       Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.       Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                      page 2
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 Debtor         SITO Mobile Solutions, Inc.                                                   Case number (If known)
                Name


               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.

            General description                                               Net book value of      Valuation method used   Current value of
                                                                              debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 60.        Patents, copyrights, trademarks, and trade secrets

 61.        Internet domain names and websites
            sitomobile.com
            sitomobilemedia.us
            sitomobilemedia.net
            sitomobilemedia.info
            sitomobilemedia.mobi
            sitomobilemedia.org
            sito.me
            sitomobile.org
            sitoinisghts.com
            sitoresearch.com
            sitostrategy.com
            sitoinsights.com
            sitomobile.co.uk
            singletouchsystems.com
            singletouchsystems.net
            singletouchsystems.org
            singletouchsystems.mobi
            singletouchsystems.info
            singletouchinteractive.com
            singletouch.net
            singletouchcorp.com
            singletouchco.com
            theoohaudience.com
            oohaudience.com
            screenrating.com
            themobileaudience.com
            screenaudience.com
            boardranking.com
            screenranking.com                                                               $0.00                                              $0.00



 62.        Licenses, franchises, and royalties

 63.        Customer lists, mailing lists, or other compilations
Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 3
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                Name



 64.        Other intangibles, or intellectual property

 65.        Goodwill

 66.        Total of Part 10.                                                                                                              $0.00
            Add lines 60 through 65. Copy the total to line 89.

 67.        Do your lists or records include personally identifiable information of customers (as defined in 11 U.S.C.§§ 101(41A) and 107?
               No
               Yes

 68.        Is there an amortization or other similar schedule available for any of the property listed in Part 10?
               No
               Yes

 69.        Has any of the property listed in Part 10 been appraised by a professional within the last year?
               No
               Yes

 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.

                                                                                                                           Current value of
                                                                                                                           debtor's interest


 71.        Notes receivable
            Description (include name of obligor)

 72.        Tax refunds and unused net operating losses (NOLs)
            Description (for example, federal, state, local)

 73.        Interests in insurance policies or annuities

 74.        Causes of action against third parties (whether or not a lawsuit
            has been filed)

 75.        Other contingent and unliquidated claims or causes of action of
            every nature, including counterclaims of the debtor and rights to
            set off claims
            lawsuit filed against Aviron Pictures (same as parent
            company, SITO Mobile, Ltd.)                                                                                                  Unknown
            Nature of claim             Lawsuit
            Amount requested                                 $0.00



 76.        Trusts, equitable or future interests in property

 77.        Other property of any kind not already listed Examples: Season tickets,
            country club membership

 78.        Total of Part 11.                                                                                                              $0.00
            Add lines 71 through 77. Copy the total to line 90.

 79.        Has any of the property listed in Part 11 been appraised by a professional within the last year?
               No
               Yes

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                               page 4
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                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                          $140,000.00

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                   $452,065.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                        $0.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                               $500.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                            $592,565.00           + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                 $592,565.00




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 5
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 Fill in this information to identify the case:

 Debtor name         SITO Mobile Solutions, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                         12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?

         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.




Official Form 206D                               Schedule D: Creditors Who Have Claims Secured by Property                                       page 1 of 1
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THE FOLLOWING LIST OF CREDITORS ARE SCHEDULED ON ALL THREE JOINTLY

ADMINISTERED DEBTORS, SITO MOBILE, LTD., SITO MOBILE SOLUTIONS, INC. AND

SITO MOBILE R&D IP, LLC, TO ENSURE APPROPRIATE NOTICE IS GIVEN TO ALL

CREDITORS IN ALL THREE OF THE CASES.
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 Fill in this information to identify the case:

 Debtor name         SITO Mobile Solutions, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                     $82,000.00          $13,650.00
           Avi Jamal                                                 Check all that apply.
           8830 Coco Plum Manor                                         Contingent
           Fort Lauderdale, FL 33324                                    Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     2019 employee sales commissions
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                           $85.00        $85.00
           Bill Goldbach                                             Check all that apply.
           1099 Summer Holly Lane                                       Contingent
           Encinitas, CA 92024                                          Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     2018 employee sales commissions
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                page 1 of 25
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 Debtor       SITO Mobile Solutions, Inc.                                                                     Case number (if known)
              Name

 2.3      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $94,830.14    $13,650.00
          Chet Petrow                                                Check all that apply.
          3029 S Elati Street                                           Contingent
          Englewood, CO 80110                                           Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     contractor-2019 fees and expenses
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.4      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $1,000.00    $1,000.00
          Chris Cassidy                                              Check all that apply.
          267 E. 7th Street #1                                          Contingent
          New York, NY 10009                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     contractor expense reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.5      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $30,000.00    $13,650.00
          Chris Nuckolls                                             Check all that apply.
          6627 Prairie Flower Trail                                     Contingent
          Dallas, TX 75227                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     2019 employee sales commissions
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.6      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $150.00     $0.00
          Chris Nuckolls                                             Check all that apply.
          6627 Prairie Flower Trail                                     Contingent
          Dallas, TX 75227                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     expense payment per employment contract
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 2 of 25
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              Name

 2.7      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,080.41    $1,080.41
          Comptroller of Public Accounts                             Check all that apply.
          P.O. Box 149348                                               Contingent
          Austin, TX 78714-9348                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Texas tax returns
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.8      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $333,000.00    $333,000.00
          Delaware Franchise Tax Board                               Check all that apply.
          Division of Corporations                                      Contingent
          PO Box 898                                                    Unliquidated
          Dover, DE 19903                                               Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     past fees and interest
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.9      Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $122.95     $122.95
          Department of Labor and Industries                         Check all that apply.
          PO Box 34974                                                  Contingent
          Seattle, WA 98124-1974                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.10     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $1,300.00    $1,300.00
          Ernest Grijalva                                            Check all that apply.
          1810 S Stevens St                                             Contingent
          Seattle, WA 98144                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     terminated employee-accrued vacation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                           Page 3 of 25
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 Debtor       SITO Mobile Solutions, Inc.                                                                     Case number (if known)
              Name

 2.11     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $1,900.00    $1,900.00
          Georgia Ball                                               Check all that apply.
          925 James Trail                                               Contingent
          Lake Alfred, FL 33850                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     terminated employee-accrued vacation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.12     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                          $0.00    $0.00
          Internal Revenue Service                                   Check all that apply.
          Centralized Insolvency Operation                              Contingent
          PO Box 7346                                                   Unliquidated
          Philadelphia, PA 19101-7346                                   Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     For Noticing & Precautionary Purposes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.13     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $8,331.58    $8,331.58
          Jonathan Bond                                              Check all that apply.
          34 Debrosses St Apt 227                                       Contingent
          New York, NY 10013                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     contractor expense reimbursement
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.14     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $21,559.88    $13,650.00
          Juliana Lupinacci                                          Check all that apply.
          1029 Garden Street Apt 2                                      Contingent
          Hoboken, NJ 07030                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     2018 employee sales commissions
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       SITO Mobile Solutions, Inc.                                                                     Case number (if known)
              Name

 2.15     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $523.31     $523.31
          Koby Halbrook                                              Check all that apply.
          2012 W Colorado Blvd                                          Contingent
          Dallas, TX 75208                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     2018 employee sales commissions
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.16     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $276.67     $276.67
          Laurie Hartnett                                            Check all that apply.
          5112 N Rutherford                                             Contingent
          Chicago, IL 60656                                             Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     2018 employee sales commissions
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.17     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                       $3,600.00    $3,600.00
          Lindsey McKenna                                            Check all that apply.
          4865 North Vanderbilt Street                                  Contingent
          Portland, OR 97203                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     terminated employee-accrued vacation
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.18     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $400,000.00    $13,650.00
          Luis Serra                                                 Check all that apply.
          17015 164th Avenue NE                                         Contingent
          Woodinville, WA 98072                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     2019 employee sales commissions
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 Debtor       SITO Mobile Solutions, Inc.                                                                     Case number (if known)
              Name

 2.19     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $78,500.00    $13,650.00
          Mark Del'Priore                                            Check all that apply.
          36 Navesink Ave                                               Contingent
          Rumson, NJ 07760                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:


          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.20     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $1,235.98    $1,235.98
          Massachusetts Dept of Revenue                              Check all that apply.
          PO Box 7089                                                   Contingent
          Boston, MA 02241-7089                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.21     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $2,500.00    $2,500.00
          Melvin Wilson                                              Check all that apply.
          (Solve Innovation Group)                                      Contingent
          81 Prospect St                                                Unliquidated
          Brooklyn, NY 11201                                            Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     2019 contractor fees
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.22     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                        $81.90     $81.90
          New Jersey Division of Taxation                            Check all that apply.
          PO Box 666                                                    Contingent
          Trenton, NJ 08646-0666                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 6 of 25
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 Debtor       SITO Mobile Solutions, Inc.                                                                     Case number (if known)
              Name

 2.23     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $193.80    $193.80
          New York State Unemployment                                Check all that apply.
          Insurance                                                     Contingent
          PO Box 4301                                                   Unliquidated
          Binghamton, NY 13902-4301                                     Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.24     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $63.00    $63.00
          NYS Workers' Compensation Board                            Check all that apply.
          Finance                                                       Contingent
          Assessment Unit                                               Unliquidated
          328 State St, Rm 331                                          Disputed
          Schenectady, NY 12305
          Date or dates debt was incurred                            Basis for the claim:
                                                                     taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.25     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $786.72    $786.72
          Roiland Diab                                               Check all that apply.
          95 Hoaratio Street #4D                                        Contingent
          New York, NY 10014                                            Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     2018 employee sales commissions
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.26     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $75.00    $0.00
          Sam Flesta                                                 Check all that apply.
          272 3rd St.                                                   Contingent
          Jersey City, NJ 07302                                         Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     expense payment per employment contract
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes




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 2.27     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $386,666.66    $13,650.00
          Scott Kauffman                                             Check all that apply.
                                                                        Contingent
                                                                        Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     Interim CEO terminated; accrued pay payable on
                                                                     3/22/2022
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.28     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                     $100,000.00    $13,600.00
          Sean Clayton                                               Check all that apply.
          5829 Phoenix Dr., Apt. 112                                    Contingent
          Dallas, TX 75231                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     2019 employee sales commissions
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.29     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                      $13,000.00    $0.00
          Sean Clayton                                               Check all that apply.
          5829 Phoenix Dr., Apt. 112                                    Contingent
          Dallas, TX 75231                                              Unliquidated
                                                                        Disputed

          Date or dates debt was incurred                            Basis for the claim:
                                                                     expense payment per employment contract
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.30     Priority creditor's name and mailing address               As of the petition filing date, the claim is:                         $50.00     $50.00
          State of Arkansas Department of                            Check all that apply.
          Finance                                                       Contingent
          Corporate Income Tax Section                                  Unliquidated
          PO Box 919                                                    Disputed
          Little Rock, AR 72203
          Date or dates debt was incurred                            Basis for the claim:
                                                                     taxes
          Last 4 digits of account number                            Is the claim subject to offset?
          Specify Code subsection of PRIORITY                           No
          unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




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 2.31       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $1,118.14         $1,118.14
            Steven Felsher                                           Check all that apply.
            61 East 11th Street                                         Contingent
            New York, NY 10003                                          Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     contractor expense reimbursement
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.32       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $4,000.00         $4,000.00
            Susanna Wheeler                                          Check all that apply.
            2205 NW 62nd Street                                         Contingent
            Seattle, WA 98107                                           Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     terminated employee-accrued vacation
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.33       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                          $9,873.82         $9,873.82
            Thomas Pallack                                           Check all that apply.
            12953 Blue Heron Circle                                     Contingent
            Ojai, CA 93023                                              Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     Unpaid Wages
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes


 2.34       Priority creditor's name and mailing address             As of the petition filing date, the claim is:                         $29,145.22         $0.00
            Tom Candelaria                                           Check all that apply.
            2228 El Camino Del Norta                                    Contingent
            Encinitas, CA 92024                                         Unliquidated
                                                                        Disputed

            Date or dates debt was incurred                          Basis for the claim:
                                                                     expense payment per employment contract
            Last 4 digits of account number                          Is the claim subject to offset?
            Specify Code subsection of PRIORITY                         No
            unsecured claim: 11 U.S.C. § 507(a) (4)
                                                                        Yes



 Part 2:       List All Creditors with NONPRIORITY Unsecured Claims
        3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
           out and attach the Additional Page of Part 2.
                                                                                                                                                        Amount of claim




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 3.1      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $3,267,528.78
          Adobe Systems, Inc.                                                   Contingent
          f/k/a TubeMogul, Inc.                                                 Unliquidated
          29322 Network Place                                                   Disputed
          Chicago, IL 60673-1293
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.2      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,446.89
          Allied Digital Strategies                                             Contingent
          26895 Aliso Creek Road, #B239                                         Unliquidated
          Aliso Viejo, CA 92656                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.3      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $878,910.77
          Amazon Web Services, Inc.                                             Contingent
          PO Box 84023                                                          Unliquidated
          Seattle, WA 98124-8423                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.4      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,168.26
          American Express                                                      Contingent
          PO Box 1270                                                           Unliquidated
          Newark, NJ 07101                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Credit Card
          Last 4 digits of account number       1008
                                                                             Is the claim subject to offset?     No       Yes

 3.5      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $21,097.42
          Atom Tickets, LLC                                                     Contingent
          2700 Colorado Blvd 4th Floor                                          Unliquidated
          Santa Monica, CA 90404                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $178,895.00
          BDO USA, LLP                                                          Contingent
          90 Woodbridge Center Dr. 4th Fl                                       Unliquidated
          Woodbridge, NJ 07095-1163                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $65,000.00
          Beeswax.io Corporation                                                Contingent
          275 7th Avenue 21st                                                   Unliquidated
          New York, NY 10001                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $28,963.33
          Broadridge ICS                                                        Contingent
          P.O. Box 416423                                                       Unliquidated
          Boston, MA 02241-6423                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Bruce Bernstein LLP                                                   Contingent
          724 Periwinkle Lane                                                   Unliquidated
          Wynnewood, PA 19096                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,975.26
          Burke Williams & Sorenson LLP                                         Contingent
          444 South Flower St, Suite 2400                                       Unliquidated
          Los Angeles, CA 90071                                                 Disputed
          Date(s) debt was incurred
                                                                                            Professional Services for business debt
                                                                             Basis for the claim:
          Last 4 digits of account number                                    (Smaato & Rubicon vendor lawsuits)
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $17,316.76
          Cablevision Lightpath, Inc.                                           Contingent
          PO Box 360111                                                         Unliquidated
          Pittsburgh, PA 15251                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $171,666.60
          Celtra, Inc.                                                          Contingent
          545 Boylston Street, 11th                                             Unliquidated
          Boston, MA 02116                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $443,908.00
          Chris Scotti                                                          Contingent
          41 Sturgis Road                                                       Unliquidated
          Bronxville, NY 10708                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $45,334.00
          Cinemark USA                                                          Contingent
          3900 Dallas Parkway Suite 500                                         Unliquidated
          Plano, TX 75093                                                       Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $381,672.56
          Clearcode S.A. (Digimedia)
          Sw. Antoniego                                                         Contingent
          2/4 50-073                                                            Unliquidated
          Wroclaw                                                               Disputed
          POLAND
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $30,000.00
          comScore, Inc.                                                        Contingent
          14140 Collection Center Dr                                            Unliquidated
          Chicago, IL 60693                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,967.01
          Continental Stock Transfer and Trust Co.                              Contingent
          One State Street Plaza                                                Unliquidated
          30th Fl.                                                              Disputed
          New York, NY 10004
                                                                             Basis for the claim:    Business Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $40,000.00
          CoreLogic Spatial Solutions Attn: SS                                  Contingent
          P.O. Box 202351                                                       Unliquidated
          Dallas, TX 75320-2351                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $13,868.69
          Corporation Service Company                                           Contingent
          (CSC Delaware)                                                        Unliquidated
          PO Box 13397                                                          Disputed
          Philadelphia, PA 19101-3397
                                                                             Basis for the claim:    Business Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.20     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,000.00
          Crossix Solutions, Inc.                                               Contingent
          1001 Ave. of the Americas, 5th Floor                                  Unliquidated
          New York, NY 10018                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.21     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $135,183.00
          Daniel Blackwell                                                      Contingent
          651 Airport Road                                                      Unliquidated
          Belle Vernon, PA 15012                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.22     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.              Unknown
          Digital Place-Based Advertising Assoc.                                Contingent
          205 E. 42nd St., 20th Fl.                                             Unliquidated
          New York, NY 10017                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.23     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $228.00
          Domain Listings                                                       Contingent
          PO Box 19607                                                          Unliquidated
          Las Vegas, NV 89132-0607                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.24     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $482.72
          DoubleVerify, Inc.                                                    Contingent
          PO Box 392268                                                         Unliquidated
          Pittsburgh, PA 15251-9268                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.25     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,397.50
          Drawbridge, Inc.                                                      Contingent
          2121 S El Camino Real 7th Floor                                       Unliquidated
          San Mateo, CA 94403                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.26     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,895.30
          Dynamic Resources, Inc.                                               Contingent
          9060 Palisade Ave Suite C5                                            Unliquidated
          North Bergen, NJ 07047                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.27     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $353.54
          Echo Point Media (V)                                                  Contingent
          Young & Laramore, Attn: Accounts Receiva                              Unliquidated
          407 Fulton Street                                                     Disputed
          Indianapolis, IN 46202
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.28     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $971.50
          Edgar Agents, LLC                                                     Contingent
          105 White Oak Lane                                                    Unliquidated
          Suite 104                                                             Disputed
          Old Bridge, NJ 08857
                                                                             Basis for the claim:    Business Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.29     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $137,375.00
          Edward Giles                                                          Contingent
          17 Heights Road                                                       Unliquidated
          Manhasset, NY 11030                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.30     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $276.09
          Electronical Office Systems                                           Contingent
          330 Fairfield Road                                                    Unliquidated
          PO Box 10303                                                          Disputed
          Fairfield, NJ 07004-2402
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.31     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,000.00
          eMedia Patch                                                          Contingent
          Attn: Masa Campara                                                    Unliquidated
          150 W 47th Street #7A                                                 Disputed
          New York, NY 10036
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.32     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $22,282.50
          Facebook, Inc.                                                        Contingent
          1601 Willow Road                                                      Unliquidated
          Menlo Park, CA 94025                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.33     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,947.41
          Foursquare Labs, Inc.                                                 Contingent
          PO Box 392184                                                         Unliquidated
          Pittsburgh, PA 15251-9184                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.34     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,333.33
          Fysical f/k/a BeaconsinSpace                                          Contingent
          1836 Broadway                                                         Unliquidated
          San Francisco, CA 94109                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.35     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,217,993.00
          Gavin Scotti                                                          Contingent
          616 Purchase Street                                                   Unliquidated
          Rye, NY 10580                                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.36     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $100,000.00
          Gavin Scotti, Sr.                                                     Contingent
          616 Purchase Street                                                   Unliquidated
          Rye, NY 10580                                                         Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.37     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $6,500.00
          Google, LLC                                                           Contingent
          1600 Amphitheatre Parkway                                             Unliquidated
          Mountain View, CA 94043                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.38     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,019.00
          Gripko Productions LLC                                                Contingent
          7621 12th Street #258                                                 Unliquidated
          Somers, WI 53171                                                      Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.39     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,500.00
          Hayden IR, LLC                                                        Contingent
          15879 N. 80th Street, Suite 204                                       Unliquidated
          Scottsdale, AZ 85260                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.40     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $505,425.00
          Hiroaki Aoyama
          3-7-21 Yamamoto-cho                                                   Contingent
          Mianami                                                               Unliquidated
          Yao City, Osaka                                                       Disputed
          JAPAN
                                                                             Basis for the claim:    Loan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.41     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $48,750.00
          InfoGroup Database License Division                                   Contingent
          P.O. Box 957742                                                       Unliquidated
          Saint Louis, MO 63195-7742                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.42     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $465,000.00
          Innominds Software, Inc.                                              Contingent
          2055 Junction Ave, Suite 122                                          Unliquidated
          San Jose, CA 95131                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.43     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,505.37
          Integral Ad Science, Inc.                                             Contingent
          Box 200197                                                            Unliquidated
          Pittsburgh, PA 15251-0907                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.44     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $299.00
          International Credit Recovery, Inc.                                   Contingent
          300 Main Street PO Box 992                                            Unliquidated
          Vestal, NY 13851
                                                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.45     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $35,228.00
          Intrado Digital Media, LLC                                            Contingent
          West LLC c/o Nasdaq                                                   Unliquidated
          P.O. Box 780700                                                       Disputed
          Philadelphia, PA 19178-0700
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.46     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $683,208.00
          Invenire Partners, LP                                                 Contingent
          90 Grove St., Suite 108                                               Unliquidated
          Ridgefield, CT 06877                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.47     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $351,000.00
          IPFS Financing (Lockton Companies)                                    Contingent
          301 W. 11th St., 4th Fl.                                              Unliquidated
          Kansas City, MO 64105                                                 Disputed
          Date(s) debt was incurred
                                                                                             financing loan agreement for annual D&O and cyber
                                                                             Basis for the claim:
          Last 4 digits of account number                                    insurance premium
                                                                             Is the claim subject to offset?     No       Yes

 3.48     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $630.33
          JAMS Inc.
          18881 Von Karman Ave.                                                 Contingent
          Suite 350                                                             Unliquidated
          92612                                                                 Disputed
          Irvine, CA 92612
                                                                             Basis for the claim:    Business Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.49     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $25,000.00
          Jazz Foundation of America                                            Contingent
          247 West 37th Street, Ste 201                                         Unliquidated
          New York, NY 10018                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.50     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,194.75
          K&L Gates LLP                                                         Contingent
          P.O. Box 844255                                                       Unliquidated
          Boston, MA 02284-4255                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.51     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,760.71
          Kayzen Realtime Technologies                                          Contingent
          GmbH Rosa Luxemburg Str. 2                                            Unliquidated
          10178 BERLIN                                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.52     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $266,390.69
          Kochava, Inc.                                                         Contingent
          201 Church Street                                                     Unliquidated
          Sandpoint, ID 83864                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.53     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $87,083.98
          Kramer Levin Naftalis & Frankel LLP                                   Contingent
          Attn: Accounting Dept.                                                Unliquidated
          1177 Avenue of the Americas                                           Disputed
          New York, NY 10036-2714
                                                                             Basis for the claim:    Business Debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.54     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $700.00
          Linkedin Corporation                                                  Contingent
          62228 Collections Center Drive                                        Unliquidated
          Chicago, IL 60693-0622                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.55     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $63,140.50
          Littler Mendelson PC                                                  Contingent
          P.O. Box 207137                                                       Unliquidated
          Dallas, TX 75320-7137                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Services for business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.56     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $26,656.25
          LiveRamp, Inc. f/k/a Acxiom                                           Contingent
          P.O. Box 74007275                                                     Unliquidated
          Chicago, IL 60674-7275                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.57     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $90,000.00
          Location Sciences Al Ltd                                              Contingent
          20 Eastbourne Terrace                                                 Unliquidated
          London W2 6LG                                                         Disputed
          UNITED KINGDOM
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.58     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $24,750.00
          Looker Data Sciences, Inc.                                            Contingent
          101 Church Street 4th Floor                                           Unliquidated
          Santa Cruz, CA 95060                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.59     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $8,000.00
          Lynn Collins Communications, Inc.                                     Contingent
          7 Knoll Lane                                                          Unliquidated
          Glen Head, NY 11545                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.60     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $950.00
          Marketing Accountability Standards Board                              Contingent
          38 East 37th Street, Box # 5                                          Unliquidated
          New York, NY 10016                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.61     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $30,000.00
          Mastercard International                                              Contingent
          4 Chase Metrotech Center, 7th Floor East                              Unliquidated
          Lockbox 9084                                                          Disputed
          Brooklyn, NY 11245-0002
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.62     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,425.10
          McGuire Woods Meister Seelig & Fein LLP                               Contingent
          1345 Avenue of the Americas, 7th Fl                                   Unliquidated
          New York, NY 10105-0106                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Services for business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.63     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $238,704.00
          Medford Bragg                                                         Contingent
          2653 Slow Flight Drive                                                Unliquidated
          Port Orange, FL 32128                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.64     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $268,343.00
          MediaJel, Inc.                                                        Contingent
          1475 North Broadway                                                   Unliquidated
          Suite 420                                                             Disputed
          Walnut Creek, CA 94956
                                                                             Basis for the claim:    Loan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.65     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $590,000.00
          MediaJel, Inc.                                                        Contingent
          1475 North Broadway                                                   Unliquidated
          Suite 400                                                             Disputed
          Walnut Creek, CA 94956
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.66     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,425.10
          Meister Seelig & Fein LLP                                             Contingent
          125 Park Avenue, 7th FL                                               Unliquidated
          New York, NY 10017                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Professional Services for business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.67     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $196,250.00
          Mobile Marketing Association, Inc.                                    Contingent
          2020 Maltby Rd, PMB 123                                               Unliquidated
          Bothell, WA 98021                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.68     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $105,000.00
          Mobile Technology LLC/Onspot Data                                     Contingent
          7193 S Poplar Street                                                  Unliquidated
          Centennial, CO 80112                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.69     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $180,000.00
          Musical.Ly Inc. (Tiktok)                                              Contingent
          10100 Venice Blvd, Suite 301                                          Unliquidated
          Culver City, CA 90232                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.70     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $38,499.99
          Nacci Technologies                                                    Contingent
          275 7th Ave., 27th Fl.                                                Unliquidated
          New York, NY 10001                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.71     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $45,234.28
          Neustar Data Services, Inc.                                           Contingent
          Bank of America                                                       Unliquidated
          P.O. Box 742000                                                       Disputed
          Atlanta, GA 30374
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.72     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,456.00
          Nintex f/b/a Drawloop Technologies, Inc.                              Contingent
          10800 NE 8th Street, Suite 400                                        Unliquidated
          Bellevue, WA 98004                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.73     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $708,287.10
          Oath (Americas) Inc.                                                  Contingent
          General Post Office PO Box 5696                                       Unliquidated
          New York, NY 10087-5696                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.74     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $25,000.00
          OpenMessage                                                           Contingent
          712 Fifth Ave, 7th flr.                                               Unliquidated
          New York, NY 10019                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.75     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $90,956.43
          Oracle America, Inc.                                                  Contingent
          PO Box 203448                                                         Unliquidated
          Dallas, TX 75320-3448                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.76     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $408,100.22
          Orrick, Herrington & Sutcliffe LLP                                    Contingent
          2121 Main Street                                                      Unliquidated
          Wheeling, WV 26003                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.77     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,222,150.14
          Pepper Hamilton LLP                                                   Contingent
          New York Times Building 37th Floor                                    Unliquidated
          620 Eighth Ave                                                        Disputed
          New York, NY 10018-1405
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 3.78     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $4,736.02
          Rachel Allgood Consulting LLC                                         Contingent
          25 Draper Street Apt. 227                                             Unliquidated
          Greenville, SC 29611                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.79     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $986.29
          Ready Refresh by Nestle                                               Contingent
          6661 Dixie Hwy, Suite 4 #216                                          Unliquidated
          Louisville, KY 40258                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.80     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $56,455.64
          Reddit Inc.                                                           Contingent
          548 Market Street #16093                                              Unliquidated
          San Francisco, CA 94104-5401                                          Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.81     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $9,851.19
          Reset Digital LLC                                                     Contingent
          c/o Allscope                                                          Unliquidated
          462 7th Ave.                                                          Disputed
          New York, NY 10018
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.82     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $856,359.74
          Ribbow Media Group LLC                                                Contingent
          900 Division Street                                                   Unliquidated
          Nashville, TN 37203                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.83     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $43,598.80
          Salesforce.com, Inc.                                                  Contingent
          P.O. Box 203141                                                       Unliquidated
          Dallas, TX 75320-3141                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.84     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $728,649.01
          SEM Internet Reklam Hizmetleri ve D. A.S                              Contingent
          Esentepe Mah. Kore Sehitleri Cad. NO:19                               Unliquidated
          Zincirlikuyu / Istanbul                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.85     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $12,500.00
          Semcassting                                                           Contingent
          41 High St                                                            Unliquidated
          North Andover, MA 01845                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.86     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $21,250.00
          Simulmedia, Inc.                                                      Contingent
          401 Park Avenue S, 11th Floor                                         Unliquidated
          New York, NY 10016                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.87     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,139.01
          Sizmek Technologies, Inc.                                             Contingent
          P.O. Box 28246                                                        Unliquidated
          New York, NY 10087-8246                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.88     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $375,000.00
          Smaato, Inc.                                                          Contingent
          PO Box 740727                                                         Unliquidated
          Los Angeles, CA 90074-0727                                            Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.89     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.       $1,292,100.00
          Small Business Administration                                         Contingent
          409 3rd St. SW                                                        Unliquidated
          Washington, DC 20416                                                  Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    PPP Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.90     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $20,437.23
          Smith Villazor LLP                                                    Contingent
          250 West 55th Street, 30th Floor                                      Unliquidated
          New York, NY 10019                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.91     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $54,000.00
          Snap, Inc.                                                            Contingent
          2772 Donald Douglas Loop North                                        Unliquidated
          Santa Monica, CA 90405                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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 3.92     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,840.90
          Special Counsel, Inc.                                                 Contingent
          10151 Deerwood Park Blvd.                                             Unliquidated
          Suite 400                                                             Disputed
          Jacksonville, FL 32256
                                                                             Basis for the claim:    legal services for SEC lawsuit
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.93     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $49,516.98
          Spectrum Media Services                                               Contingent
          c/o Dave Hills                                                        Unliquidated
          1460 Broadway, 6th Fl.                                                Disputed
          New York, NY 10036
                                                                             Basis for the claim:    Trade debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.94     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $679,349.00
          Stephen Baksa                                                         Contingent
          2 Woods Lane                                                          Unliquidated
          Chatham, NJ 07928                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.95     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $337,954.00
          Superior Securities Group, Inc.                                       Contingent
          94 Grand Ave.                                                         Unliquidated
          Englewood, NJ 07631                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Loan
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.96     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $48,530.00
          SVGC, a Professional Corporation                                      Contingent
          18428 Twin Creeks Rd                                                  Unliquidated
          Los Gatos, CA 95030                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    2020 and 2019 contractor attorney fees
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.97     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $74,200.00
          Tapad, Inc.                                                           Contingent
          DEPT CH 19637                                                         Unliquidated
          Palatine, IL 60055-9637                                               Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.98     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $133,419.00
          Ted Cooper                                                            Contingent
          65 West Hamilton Ave.                                                 Unliquidated
          Suite 1                                                               Disputed
          Campbell, CA 95008
                                                                             Basis for the claim:    Loan
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes




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 Debtor       SITO Mobile Solutions, Inc.                                                             Case number (if known)
              Name

 3.99     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $1,305.00
          The Harrison Group, Inc.                                              Contingent
          3 Raymond Drive, Suite 201                                            Unliquidated
          Havertown, PA 19083                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.100    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $46,500.00
          The Nasdaq Stock Market LLC                                           Contingent
          LBX #20200 P.O. Box 780200                                            Unliquidated
          Philadelphia, PA 19178-0200                                           Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.101    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $250,005.00
          The Rubicon Project, Inc.                                             Contingent
          12181 Bluff Creek Drive, Floor 4                                      Unliquidated
          Playa Vista, CA 90094                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.102    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,926.67
          TIAA Commercial Finance, Inc.                                         Contingent
          PO Box 911608                                                         Unliquidated
          Denver, CO 80291-1608                                                 Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.103    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $5,000.00
          U.S. Bank                                                             Contingent
          Treasury Management Services CM 9581                                  Unliquidated
          PO Box 70870
                                                                                Disputed
          Saint Paul, MN 55170-9581
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.104    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.         $107,375.00
          Unacast, Inc.                                                         Contingent
          12 East 33rd Street, 10th Floor                                       Unliquidated
          New York, NY 10016                                                    Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes

 3.105    Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $7,500.00
          Vaco Bridgewater, LLC                                                 Contingent
          5501 Virginia Way, Ste 120                                            Unliquidated
          Brentwood, TN 37027                                                   Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




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              Name

 3.106     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                  $451.00
           Vcorp Service LLC                                                    Contingent
           25 Robert Pitt Drive, Suite 204                                      Unliquidated
           Monsey, NY 10952                                                     Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes

 3.107     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                $2,732.25
           Verbal Ink                                                           Contingent
           11835 W. Olympic Blvd. Suite 1020E                                   Unliquidated
           Los Angeles, CA 90064                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes

 3.108     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $19,005.00
           Vinson & Elkins LLP                                                  Contingent
           PO BOX 301019                                                        Unliquidated
           Dallas, TX 75303-1019                                                Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes

 3.109     Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.              $15,622.48
           Xandr f/k/a AppNexus                                                 Contingent
           28 West 23rd Street, 4th FL                                          Unliquidated
           New York, NY 10010                                                   Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Trade debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?        No      Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       Andrea Martin, Esq.
           Burns & Levinson LLP                                                                       Line     3.73
           125 High St
                                                                                                             Not listed. Explain
           Boston, MA 02110

 4.2       Internal Revenue Service
           Special Procedures                                                                         Line     2.12
           955 So. Springfield Avenue
                                                                                                             Not listed. Explain
           Springfield, NJ 07081


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                          Total of claim amounts
 5a. Total claims from Part 1                                                                            5a.          $                  1,607,050.18
 5b. Total claims from Part 2                                                                            5b.    +     $                 19,412,256.37

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                                 5c.          $                    21,019,306.55




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                 Page 25 of 25
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 Fill in this information to identify the case:

 Debtor name         SITO Mobile Solutions, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.1.        State what the contract or                   Aivron campaign
             lease is for and the nature of               agreement
             the debtor's interest

                  State the term remaining
                                                                                        Ash Greyson/Ribbow Media Group LLC
             List the contract number of any                                            900 Division Street
                   government contract                                                  Nashville, TN 37203


 2.2.        State what the contract or                   Aviron Pictures lawsuit
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Burke Williams & Sorenson LLP
             List the contract number of any                                            444 South Flower St, Suite 2400
                   government contract                                                  Los Angeles, CA 90071


 2.3.        State what the contract or                   Aviron Pictures lawsuit
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                                              MediaJel, Inc.
                                                                                        1475 North Broadway
             List the contract number of any                                            Suite 420
                   government contract                                                  Walnut Creek, CA 94956


 2.4.        State what the contract or                   Aviron Pictures lawsuit
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Sean Clayton
             List the contract number of any                                            5829 Phoenix Dr., Apt. 112
                   government contract                                                  Dallas, TX 75231




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 2
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              First Name               Middle Name                   Last Name



            Additional Page if You Have More Contracts or Leases

 2. List all contracts and unexpired leases                                         State the name and mailing address for all other parties with
                                                                                    whom the debtor has an executory contract or unexpired
                                                                                    lease

 2.5.        State what the contract or                   Aviron Pictures lawsuit
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        The Rubicon Project, Inc.
             List the contract number of any                                            12181 Bluff Creek Drive, Floor 4
                   government contract                                                  Playa Vista, CA 90094


 2.6.        State what the contract or                   Aviron Pictures lawsuit
             lease is for and the nature of
             the debtor's interest

                  State the term remaining
                                                                                        Troutman Pepper LLP
             List the contract number of any                                            875 3rd Ave
                   government contract                                                  New York, NY 10022




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                       Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         SITO Mobile Solutions, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      SITO Mobile                       100 Town Square Place, Suite 204                                                     D
             Media                             Jersey City, NJ 07310                                                                E/F
                                               Co-debtor on all debt obligations                                                    G




    2.2      SITO Mobile R&D,                  100 Town Square Place, Suite 204                                                     D
             IP LLC                            Jersey City, NJ 07310                                                                E/F
                                               Co-debtor on all debt obligations                                                    G




    2.3      SITO Mobile, Ltd.                 100 Town Square Place, Suite 204                                                     D
                                               Jersey City, NJ 07310                                                                E/F
                                               Co-Debtor on all debt obligations                                                    G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         SITO Mobile Solutions, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF NEW JERSEY

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       From the beginning of the fiscal year to filing date:                                       Operating a business                             $1,111,812.34
       From 1/01/2020 to Filing Date
                                                                                                   Other


       For prior year:                                                                             Operating a business                           $27,247,508.00
       From 1/01/2019 to 12/31/2019
                                                                                                   Other


       For year before that:                                                                       Operating a business                           $39,746,351.00
       From 1/01/2018 to 12/31/2018
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply




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       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               MediaJel, Inc.                                              7/15; 8/17                      $100,000.00           Secured debt
               1475 North Broadway                                                                                               Unsecured loan repayments
               Suite 420                                                                                                         Suppliers or vendors
               Walnut Creek, CA 94956                                                                                            Services
                                                                                                                                 Other settlement payments


       3.2.
               Lockton Companies LLC                                       7/6; 8/4; 9/24                  $163,108.68           Secured debt
               444 W. 47th Street, Suite 900                                                                                     Unsecured loan repayments
               Kansas City, MO 64112
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.3.
               Semcasting                                                  7/16; 8/17                       $25,000.00           Secured debt
               41 High Street                                                                                                    Unsecured loan repayments
               North Andover, MA 01845
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.4.
               Vaco Bridgewater, LLC                                       7/15; 8/28                       $22,500.00           Secured debt
               5501 Virginia Way, Ste 120                                                                                        Unsecured loan repayments
               Brentwood, TN 37027                                                                                               Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other settlement payments


       3.5.
               Mark Del'Priore                                             7/2                              $10,000.00           Secured debt
               36 Navesink Ave                                                                                                   Unsecured loan repayments
               Rumson, NJ 07760                                                                                                  Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other settlement payments


       3.6.
               Cigna Healthcare                                            7/22                               $7,631.31          Secured debt
               CGLIC Hookset                                                                                                     Unsecured loan repayments
               PO Box 360942
                                                                                                                                 Suppliers or vendors
               Pittsburgh, PA 15251-6942
                                                                                                                                 Services
                                                                                                                                 Other


       3.7.
               Bruce Bernstein LLP                                         8/3                              $10,000.00           Secured debt
               724 Periwinkle Lane                                                                                               Unsecured loan repayments
               Wynnewood, PA 19096
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other


       3.8.
               Pepper Hamilton LLP                                         8/3; 9/1                         $20,000.00           Secured debt
               New York Times Building                                                                                           Unsecured loan repayments
               620 Eighth Avenue, 37th Fl
                                                                                                                                 Suppliers or vendors
               New York, NY 10018-1405
                                                                                                                                 Services
                                                                                                                                 Other




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       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.9.
               Smaato, Inc.                                                7/1; 8/3                         $75,000.00                Secured debt
               PO Box 740727                                                                                                          Unsecured loan repayments
               Los Angeles, CA 90074-0727                                                                                             Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other settlement payments


       3.10
       .
            The Rubicon Project, Inc.                                      7/1; 8/3                         $33,334.00                Secured debt
               12181 Bluff Creek Drive, Floor 4                                                                                       Unsecured loan repayments
               Playa Vista, CA 90094                                                                                                  Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other settlement payments


       3.11
       .
            Reset Digital LLC c/o Allscope                                 7/17; 9/15                       $76,906.09                Secured debt
               462 7th Ave                                                                                                            Unsecured loan repayments
               New York, NY 10018
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.12
       .
            Spectrum Media Services                                        7/27; 8/28;                      $83,279.88                Secured debt
               c/o Dave Hills                                              9/2                                                        Unsecured loan repayments
               1460 Broadway, 6th Floor
                                                                                                                                      Suppliers or vendors
               New York, NY 10036
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

           None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

           None

       Creditor's name and address                               Describe of the Property                                      Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
   debt.

           None

       Creditor's name and address                               Description of the action creditor took                       Date action was                   Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments


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7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                        Nature of case               Court or agency's name and             Status of case
               Case number                                                                    address
       7.1.    SEE ATTACHED RIDER                                                                                                         Pending
                                                                                                                                          On appeal
                                                                                                                                          Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                      Description of the gifts or contributions                  Dates given                            Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                      Amount of payments received for the loss                   Dates of loss             Value of property
       how the loss occurred                                                                                                                                       lost
                                                                 If you have received payments to cover the loss, for
                                                                 example, from insurance, government compensation, or
                                                                 tort liability, list the total received.

                                                                 List unpaid claims on Official Form 106A/B (Schedule
                                                                 A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.




Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                        page 4
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            Case 20-21436-SLM                          Doc 1          Filed 10/08/20 Entered 10/08/20 09:49:17                               Desc Main
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 Debtor        SITO Mobile Solutions, Inc.                                                               Case number (if known)



                 Who was paid or who received                        If not money, describe any property transferred           Dates                Total amount or
                 the transfer?                                                                                                                               value
                 Address
       11.1.     WASSERMAN, JURISTA &
                 STOLZ, P.C.
                 110 Allen Road
                 Suite 304
                 Basking Ridge, NJ 07920                             retainer and filing fee                                   10/1/2020                $16,717.00

                 Email or website address
                 attys@wjslaw.com

                 Who made the payment, if not debtor?




12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers               Total amount or
                                                                                                                      were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                           Description of property transferred or                  Date transfer              Total amount or
                Address                                          payments received or debts paid in exchange             was made                            value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To
       14.1.     100 Town Square Place                                                                                     2015-2019
                 Suite 204
                 Jersey City, NJ 07310

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                       Nature of the business operation, including type of services              If debtor provides meals
                                                                 the debtor provides                                                       and housing, number of
                                                                                                                                           patients in debtor’s care


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 Part 9:       Personally Identifiable Information

16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?

                       No Go to Part 10.
                      Yes. Fill in below:
                    Name of plan                                                                               Employer identification number of the plan
                    ADP 401(k)                                                                                 EIN:

                    Has the plan been terminated?
                       No
                       Yes


 Part 10:      Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

           None
               Financial Institution name and                    Last 4 digits of         Type of account or          Date account was            Last balance
               Address                                           account number           instrument                  closed, sold,           before closing or
                                                                                                                      moved, or                        transfer
                                                                                                                      transferred
       18.1.     Wells Fargo                                     XXXX-7752                   Checking                 4/29/2020                       $1,641.64
                 420 Montgomery                                                              Savings
                 Portland, ME 04104
                                                                                             Money Market
                                                                                             Brokerage
                                                                                             Other


19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


           None

       Depository institution name and address                        Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


           None

       Facility name and address                                      Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?



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 Debtor      SITO Mobile Solutions, Inc.                                                                Case number (if known)



       Facility name and address                                      Names of anyone with                Description of the contents        Do you still
                                                                      access to it                                                           have it?
       Extra Space Storage                                            Principal                           old files                              No
       2027 83rd St.                                                                                                                             Yes
       North Bergen, NJ 07047



 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).

      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                 Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known    Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known    Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None




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 Debtor      SITO Mobile Solutions, Inc.                                                                Case number (if known)



    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Angelica Dos Santos


       26a.2.       Christofer Almanzar


       26a.3.       Sandip Amin                                                                                                                1/2009-9/2020
                    253 Seaview Ave
                    Jersey City, NJ 07305
       26a.4.       Gregg Saunders


       26a.5.       Frank Ferro


       26a.6.       Terry Lynn


       26a.7.       Aaron Tam


       26a.8.       Steve Ronning



    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.1.       BDO USA, LLP                                                                                                               1/2018-2/2020
                    90 Woodbridge Center Dr. 4th Fl
                    Woodbridge, NJ 07095-1163
       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26b.2.       Deloitte Tax LLP                                                                                                           1/2017-2/2020
                    Dallas, TX 75284


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.

              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.1.       BDO USA, LLP
                    90 Woodbridge Center Dr. 4th Fl
                    Woodbridge, NJ 07095-1163


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 Debtor      SITO Mobile Solutions, Inc.                                                                Case number (if known)



       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why
       26c.2.       Deloitte Tax LLP
                    Dallas, TX 75284


    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address
       26d.1.       Small Business Administration


       26d.2.       Lockton Insurance
                    444 W. 47th St., Suite 900
                    Kansas City, MO 64112
       26d.3.       MediaJel, Inc.
                    1475 North Broadway
                    Suite 420
                    Walnut Creek, CA 94956
       26d.4.       Merida Capital
                    41 Lexington Ave., Suite 1801
                    New York, NY 10022
       26d.5.       Oppenheimer
                    85 Broad St., 25th Fl.
                    New York, NY 10004
       26d.6.       Lakestreet Capital
                    920 Second Ave. So., Suite 700
                    Minneapolis, MN 55402
       26d.7.       Fastpay
                    8201 Beverly Blvd.
                    Los Angeles, CA 90048

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

                Name of the person who supervised the taking of the                         Date of inventory        The dollar amount and basis (cost, market,
                inventory                                                                                            or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Thomas Candelaria                              2228 El Camino Del Norte                            Board of Directors, state in
                                                      Encinitas, CA 92024                                 financial transaction proceeds

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Steven Baksa                                   2 Woods Lane                                        Board of Directors, Secured
                                                      Chatham, NJ 07928                                   noteholder, Shareholder




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 Debtor      SITO Mobile Solutions, Inc.                                                                Case number (if known)



       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       Gavin Scotti                                   616 Purchase St.                                    Board of Directors, Secured
                                                      Rye, NY 10580                                       noteholder, Shareholder

       Name                                           Address                                             Position and nature of any         % of interest, if
                                                                                                          interest                           any
       SEE ATTACHED RIDER




29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.

       Name                                           Address                                             Position and nature of any     Period during which
                                                                                                          interest                       position or interest
                                                                                                                                         was held
       Jonathan Bond                                  34 Desbrosses St., Apt. 227                         Chairman of the Board,         2018-2020
                                                      New York, NY 10013                                  Comp Committee
                                                                                                          Chairman
       Name                                           Address                                             Position and nature of any     Period during which
                                                                                                          interest                       position or interest
                                                                                                                                         was held
       Steven Felsher                                 61 East 11th Street                                 Board of Directors, Audit      2018-2020
                                                      New York, NY 10003                                  Committee Chairman

       Name                                           Address                                             Position and nature of any     Period during which
                                                                                                          interest                       position or interest
                                                                                                                                         was held
       Brett O'Brien                                  1045 Elmwood Ave                                    Board of Directors             2018-2020
                                                      Wilmette, IL 60091

       Name                                           Address                                             Position and nature of any     Period during which
                                                                                                          interest                       position or interest
                                                                                                                                         was held
       Steven Bornstein                               1129 Summit Dr.                                     Board of Directors             2018-2020
                                                      Beverly Hills, CA 90210

       Name                                           Address                                             Position and nature of any     Period during which
                                                                                                          interest                       position or interest
                                                                                                                                         was held
       Brant Bough                                    3 Stuyvesant Oval, 12D                              Board of Directors             2018-2020
                                                      New York, NY 10009

       Name                                           Address                                             Position and nature of any     Period during which
                                                                                                          interest                       position or interest
                                                                                                                                         was held
       Thomas Pallack                                 12953 Blue Heron Circle                             Board of Direcotrs, CEO        2017-2019
                                                      Ojai, CA 93023

       Name                                           Address                                             Position and nature of any     Period during which
                                                                                                          interest                       position or interest
                                                                                                                                         was held
       Terrance Lynn                                  165 Georgia Ln                                      CFO                            2019
                                                      Portola Valley, CA 94028




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 Debtor      SITO Mobile Solutions, Inc.                                                                Case number (if known)



       Name                                           Address                                             Position and nature of any       Period during which
                                                                                                          interest                         position or interest
                                                                                                                                           was held
       Scott Kauffman                                 260 Churchhill Ave.                                 Interim CEO                      2019
                                                      Palo Alto, CA 94301


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                     Amount of money or description and value of             Dates             Reason for
                                                                 property                                                                  providing the value

31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation

32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation




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 Debtor      SITO Mobile Solutions, Inc.                                                                Case number (if known)




 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         October 7, 2020

 /s/ Thomas Candelaria                                                  Thomas Candelaria
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor         CEO

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
  No
   Yes




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                                      RIDER TO SOFA #7 - LEGAL ACTIONS



      Case title and case number             Court or agency's name and         Status of case
                                                       address
 SEC vs Hug/Streams                         SEC. Filed in District Court for
 Civil Action No: 2:19-cv-16290-ES-         the State of New Jersey.             Pending
 ESK
                                                                                 On appeal
                                                                                 Concluded




      Case title and case number             Court or agency's name and         Status of case
                                                       address
 SITO Mobile Solutions, Inc. vs Aviron      Superior Court of California,
 Pictures, LLC                              Los Angeles.
                                                                                 Pending
 Case number:
 Civil Action No:                                                                On appeal
 19SMCV01774                                                                     Concluded




      Case title and case number             Court or agency's name and         Status of case
                                                       address
  _____________________________             ________________________           ______________
 SITO MOBILE, LTD., vs FloSports            UNITED STATES DISTRICT
 Case Number:                               COURT FOR THE WESTERN
                                            DISTRICT OF TEXAS                    Pending
 6:20-cv-00471                                                                   On appeal
                                            WACO DIVISION
                                                                                 Concluded




      Case title and case number             Court or agency's name and
                                                                               Status of case
                                                       address
  _____________________________             ________________________           ______________
 SITO MOBILE, LTD., vs Hulu, LLC            UNITED STATES DISTRICT
 Case Number:                               COURT FOR THE WESTERN
 6:20-cv-00472                              DISTRICT OF TEXAS                    Pending
                                            WACO DIVISION                        On appeal
                                                                                 Concluded



 Case title and case number                 Court or agency's name and
                                            address                            Status of case
 _____________________________              ________________________           ______________
 Mobile Marketing Association, Inc. vs      SUPREME COURT OF NEW                 Pending
 Sito Mobile, Ltd.                          YORK
 Case Number:                               COUNTY OF NEW YORK                   On appeal
 656572/2019                                                                     Concluded
Case 20-21436-SLM             Doc 1      Filed 10/08/20 Entered 10/08/20 09:49:17                Desc Main
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 Case title and case number                Court or agency's name and
                                           address                            Status of case
 _____________________________             ________________________           ______________
 Clearcode S.A., formerly known as D       SUPREME COURT OF NEW                 Pending
 DIGINEDIA SP.Z O.O.,                      YORK
 Case Number:                              COUNTY OF NEW YORK                   On appeal
 156139/201/2019                                                                Concluded




 Case title and case number                Court or agency's name and
                                           address                            Status of case
 _____________________________             ________________________           ______________
 Mark Del’Priore vs Sito Mobile, Ltd.      Supreme Court of the State of
 Case number:                              New York, County of New York
 158733/2019                                                                     Pending
                                                                                 On appeal
                                                                                 Concluded but
                                                                              have breached
                                                                              settlement


                                           Court or agency's name and
 Case title and case number                address                            Status of case
 ____________________________              ________________________           ______________
 Rubicon vs Sito Mobile Media, Inc.        Los Angeles Superior
 Case number:
 19SMCV01503                                                                     Pending
                                                                                 On appeal
                                                                                 Concluded but
                                                                              have breached
                                                                              settlement


 Case title and case number                Court or agency's name and
                                           address                            Status of case
 _____________________________             ________________________           ______________
 Smaato, Inc. vs SITO MOBILE, LTD,         United States District Court for
 et al.,                                   the Northern District of
 Case number:                              California                            Pending
 4-19-cv-07555-HSG                                                               On appeal
                                                                                 Concluded but
                                                                              have breached
                                                                              settlement




 Case title and case number                Court or agency's name and
                                           address                            Status of case
 _____________________________             ________________________           ______________
 Sandi Roper on behalf of all other        UNITED STATES DISTRICT
 similarly situated vs SITO Mobile,        COURT, District of New Jersey
 Ltd., Jerry Hug and Kurt Streams                                               Pending
 Case Number:                                                                   On appeal
 2:17-cv-01106-ES-MAH                                                           Concluded
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 Case title and case number                Court or agency's name and
                                           address                         Status of case
 _____________________________             ________________________        ______________
 Digital Place-Based v. Sito Mobile        UNITED STATES DISTRICT
 Solutions                                 COURT, District of New Jersey
 Docket #L-003422-20                       Hudson County                     Pending
                                                                             On appeal
                                                                             Concluded


 Case title and case number                Court or agency's name and
                                           address                         Status of case
 _____________________________             ________________________        ______________
 SITO Mobile, Ltd. v. Blue Scout           UNITED STATES DISTRICT
 Media, LLC                                COURT, Western District of
 Case No. 6:20-cv-00910                    Texas, Waco Division              Pending
                                                                             On appeal
                                                                             Concluded

 Oath, Inc. v. Sito Mobile Solutions,      USDC Massachusetts,
 Inc.
 Case No. 1:20cv11803
                                           Massachusetts
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                                                                                     CURRENT    SHAREHOLDERS

                   Name                               Name/1st Line Address                     2nd Line Address                      3rd Line Address              4th Line Address              5th Line Address     Shares
CEDE & CO                               PO BOX 20                              BOWLING GREEN STATION                    NEW YORK NY 10274                                                                             21,890,909
NICOLE BRAUN TR                         THE NICOLE BRAUN 2010 TRUST            U/A DTD 05/10/2010                       5574 VALERIO TRL                       SAN DIEGO CA 92130-1426                                 1,504,566
STEPHEN BAKSA                           2 WOODS LN                             CHATHAM NJ 07928-1760                                                                                                                     434,102
NICOLE BRAUN                            5574 VALERIO TRL                       SAN DIEGO CA 92130-1426                                                                                                                   393,520
JONATHAN SANDELMAN                      515 PARK AVE APT 14                    NEW YORK NY 10022-1196                                                                                                                    360,846
BALANCE ACCOUNT REPRESENTING THE        UNEXCHANGED SHARES (COM & NEW ISSUE)   % CONTINENTAL STOC TRANSFER              1 STATE ST                             NEW YORK NY 10004-1123                                    298,353
HIROAKI AOYAMA                          3-4-24 YAMAMOTO-CHO MINAMI             YAO OSAKA 581 0013                       JAPAN                                                                                            195,000
HIROAKI AOYAMA                          YAMAMOTO-CHO, MINAMI-3-4-24            YAO-SHI, OSAKA-FU 581-0013               JAPAN                                                                                            100,000
CHANG WAN YOO                           2-18-4 HIGASHI SHIMBASHI #604          MINATO-KY                                TOKYO 105-0021                         JAPAN                                                      70,000
EVAN TURNER                             19966 OLD POND CT                      BEVERLY HILLS MI 48025                                                                                                                     45,112
STEPHEN D BAKSA TR UA 10/12/09          BRIAN S BAKSA TRUST                    2 WOODS LN                               CHATHAM NJ 07928-1760                                                                             41,667
STEPHEN D BAKSA TR UA 08/12/08          SARAH ELIZABETH BAKSA TRUST            2 WOODS LN                               CHATHAM NJ 07928-1760                                                                             41,667
SULLIVAN TRUST B                        DTD MAY 8 2013                         PO BOX 864                               WILSON WY 83014-0864                                                                              31,018
C KENNETH SHANK                         37 GREEN WAY                           NEW PROVIDENCE NJ 07974-2957                                                                                                               26,847
STEPHEN D BAKSA                         2 WOODS LN                             CHATHAM NJ 07928-1760                                                                                                                      25,000
HERBERT S FITZGIBBON II                 9950 RENFREW AVE                       VERO BEACH FL 32963-4903                                                                                                                   20,000
EDWARD M GILES                          PETER B CANNELL & CO                   545 MADISON AVE                          NEW YORK NY 10022-4219                                                                            20,000
JOHN D HOGAN IRA                        C/O FIDUCIARY TRUST CO INTL            ATTN GEORGE CATAUDELLA                   600 5TH AVE FL 4                       NEW YORK NY 10020-2302                                     20,000
GRAHAM COX                              1771 CALLE DELICADA                    LA JOLLA CA 92037-7121                                                                                                                     15,000
NICOLE BRAUN CUST                       NICOLAS MACALUSO                       UN CA UNIF TRANS MIN ACT                 5574 VALERIO TRL                       SAN DIEGO CA 92130-1426                                    14,388
GAVIN SCOTTI                            616 PURCHASE ST                        RYE NY 10580-1871                                                                                                                          13,334
MAXIMILLIAN WOLFGANG MACALUSO           5818 SARASOTA CORTE                    RANCHO SANTA FE CA 92067                                                                                                                   12,500
LEONARD WERBIN &                        NANCY B WERBIN TR                      THE WERBIN FAMILY TRUST                  U/A DTD 10/20/1992                     614 LADIN LN                   LAKEWAY TX 78734-4157        5,750
MICHAEL SOROCHINSKY &                   LAUREN SOROCHINSKY TRS                 MICHAEL & LAUREN SOROCHINSKY FAM TRUST   U/A DTD 09/11/00                       31508 ANACAPA VIEW DR          MALIBU CA 90265-2646         5,500
BRUCE NEWELL                            303 VANDERPOOL LN                      HOUSTON TX 77024-6122                                                                                                                       5,000
MATTHEW BURR                            960 3RD ST APT 309                     SANTA MONICA CA 90403-2507                                                                                                                  4,603
SHARON K RUNAGER TTEE OF THE SHARON K   RUNAGER EXEMPT TRUST DTD 9 24 93       1035 SOLANA DR                           DEL MAR CA 92014-3906                                                                              4,167
RITA VALDEZ                             713 W HERVEY DR                        ROSWELL NM 88203-3610                                                                                                                       3,500
JOHN D RUNAGER & SHARON RUNAGER         TR OF THE RUNAGER FAMILY TR 11 30      1035 SOLANA DR                           DEL MAR CA 92014-3906                                                                              3,384
JEREMY M HURWITZ                        9737 SAWYER ST                         LOS ANGELES CA 90035-4107                                                                                                                   3,244
DAVID M BOLAND                          4 PLAYERS CLUB DR                      CHARLESTON WV 25311-1626                                                                                                                    2,700
TERRANCE A GLASS &                      CATHY R GLASS JTTEN                    4304 SUGAR CANE AVE                      BAKERSFIELD CA 93313-2943                                                                          2,500
CHARLES SCHWAB TR COMPANY TR            LITTLER MENDELSON 401 (K) PLAN & TR    425 MARKET ST FL 7                       SAN FRANCISCO CA 94105-5405                                                                        2,500
MAXIMILLIAN W MACALUSO                  5574 VALERIO TRL                       SAN DIEGO CA 92130-1426                                                                                                                     1,888
STEPHEN C STANILAND                     4870 ELLINGTON ST                      VENTURA CA 93003-0375                                                                                                                       1,800
KICHLINE FAMILY TRUST                   1371 ROLLING SUNSET ST                 HENDERSON NV 89052-3123                                                                                                                     1,500
KEITH SIEBRECHT &                       JILL SIEBRECHT JT TEN                  1895 280TH ST                            ODEBOLT IA 51458-7564                                                                              1,500
ANTONIO RAMIREZ &                       ALICIA RAMIREZ JTTEN                   3027 PRADO LN                            COLTON CA 92324-9545                                                                               1,334
STEPHEN R DECKER                        811 BUENA VIS APT 3                    SAN CLEMENTE CA 92672-5076                                                                                                                  1,250
BRITT SIEBRECHT                         2784 GARD AVE                          ODEBOLT IA 51458-7423                                                                                                                       1,000
GABRIEL STINE &                         WENDY STINE JTTEN                      8677 SVL BOX                             VICTORVILLE CA 92395-5128                                                                            850
L RALPH PIERCY &                        LYNN M PIERCY JTTEN                    219 N CIMARRON RD                        LAS VEGAS NV 89145-3917                                                                              834
JIM QUAST                               16 JUMP UP CT                          GARBERVILLE CA 95542-3621                                                                                                                     750
STEVE ROSS                              399 GRAHAM DR                          COPPELL TX 75019-7500                                                                                                                         750
MARC SIEBRECHT                          1895 280TH ST                          ODEBOLT IA 51458-7564                                                                                                                         750
MARY E BOLAND                           296 WARRINGTON DR                      ROCHESTER NY 14618-1540                                                                                                                       500
ROBYN BRADLEY                           7781 OSAGE CANYON ST                   LAS VEGAS NV 89113-3007                                                                                                                       500
CHARLES SCHWAB & CO INC CUST            JOSEPH MANDESE IRA 9094-7407           ALTERNATIVE INVESTMENT                   ATTN: SECURITIES OPERATIONS            2423 E LINCOLN DR              PHOENIX AZ 85016-1215          500
JOHN A GREENE                           88 KIRKWOOD RD NE                      ATLANTA GA 30317-1133                                                                                                                         500
RANDALL E HOWARD                        19476 TOMAHAWK RD                      APPLE VALLEY CA 92307-5049                                                                                                                    500
HERBERT W CHIP KLING                    5087 MIDAS AVE                         ROCKLIN CA 95677-2278                                                                                                                         500
RANDALL LANHAM                          C/O LANHAM & ASSOCIATES                28562 OSO PKWY STE D138                  RANCHO SANTA MARGARITA CA 92688-5595                                                                 500
THOMAS ALLEN LAWRENCE                   1314 MANDALAY BEACH RD                 OXNARD CA 93035-1964                                                                                                                          500
DEBORAH SCALABRINI &                    MICHAEL SCALABRINI JTTEN               7255 HAWTHORNE RD                        HESPERIA CA 92345-8544                                                                               500
CHARLES J SPEELMAN &                    SARA J SPEELMAN JTTEN                  16049 MOLINO DR                          VICTORVILLE CA 92395-4262                                                                            500
DANNY TARKANIAN                         3008 CAMPBELL CIR                      LAS VEGAS NV 89107-3214                                                                                                                       500
THE EVANS FAMILY TRUST                  1368 CAMINO TERESA                     SOLANA BEACH CA 92075-1651                                                                                                                    500
JOHN P VITULLI                          840 HARDELL LN                         VISTA CA 92084-6627                                                                                                                           500
KIM RUNAGER &                           JOHN S RUNAGER JTTEN                   3657 BUENA VISTA ST                      SAN DIEGO CA 92109-6619                                                                              417
HERBERT W CHIP KLING &                  BECKY S KLING JTTEN                    5087 MIDAS AVE                           ROCKLIN CA 95677-2278                                                                                400
LISA R DANIELS                          2221 HAWTHORNE PL                      TUSTIN CA 92782-8364                                                                                                                          250
SUSAN ELSTON                            3412 TOWNSHIP AVE                      SIMI VALLEY CA 93063-1547                                                                                                                     250
HENRY T NEWTON                          1107 SOLANA DR                         DEL MAR CA 92014-3907                                                                                                                         250
RICK QUAST                              24 ROSELAND TER                        MARSTONS MILLS MA 02648-1927                                                                                                                  250
ANGELA WIDMANN &                        CRAIG WIDMANN JT TEN                   4596 S BUCKSKIN WAY                      CHANDLER AZ 85249-5964                                                                               250
JONATHAN M YRACEBURN &                  NICOLE A YRACEBURN JTTEN               6049 RANCHO BRAVADO                      CARLSBAD CA 92009-2236                                                                               250
JOSHUA PATRICK HOGAN                    417 ADELEINE                           COLUMBIA IL 62236-2758                                                                                                                        200
BRANDON J GAUDREN                       1231 BEASLEY ST                        RIDGECREST CA 93555-6319                                                                                                                      167
RYAN EDWARD HARRINGTON                  3977 W STRATFORD RD # 3977             VIRGINIA BEACH VA 23455-1685                                                                                                                  167
BENJAMIN H HINZ                         10655 WEXFORD ST UNIT 2                SAN DIEGO CA 92131-3945                                                                                                                       167
DARRELL E JACKSON                       PO BOX 30846                           LAS VEGAS NV 89173-0846                                                                                                                       167
FRANK WILLIAMS &                        SHELEEN WILLIAMS JTTEN                 1797 NELSON WAY                          SAN JOSE CA 95124-3715                                                                               167
MARK ASHWORTH                           9733 TERRACE GREEN AVE                 LAS VEGAS NV 89117-0691                                                                                                                       150
JUAN V NOBLE                            13515 AVENIDA SANTA                    TECLA 210-C                              LA MIRADA CA 90638                                                                                   150
TERRY GLASS                             5811 RIVER BIRCH DRIVE                 BAKERSFIELD CA 93306                                                                                                                          125
JEREMY P HOGAN &                        JENNIFER M HOGAN JTTEN                 3 FIELDCREST DR                          MONTICELLO IL 61856-8320                                                                             117
JEREMY HOGAN                            3 FIELDCREST DR                        MONTICELLO IL 61856-8320                                                                                                                      117
RANDALL HOWARD                          19476 TOMAHAWK RD                      APPLE VALLEY CA 92307-5049                                                                                                                    100
DAVID A FISK &                          ALLISON R FISK JTTEN                   305 HARRIS GROVE LN                      YORKTOWN VA 23692-4014                                                                                75
SCOTT PIERCY                            219 N CIMARRON RD                      LAS VEGAS NV 89145-3917                                                                                                                        75
ELAINE COMEAU                           2415 RIVER RIDGE DR                    SARASOTA FL 34239-4228                                                                                                                         50
COREY B FISK                            1385 E GRAND CANYON DR                 CHANDLER AZ 85249-5454                                                                                                                         50
ARTHUR E WILSON                         4701 DATE AVE UNIT 302                 LA MESA CA 91942-0291                                                                                                                          50
JOHN FIGLIULO &                         TERRY FIGLIULO JTTEN                   24533 W PARK RIVER LN                    SHOREWOOD IL 60404-7671                                                                               17
HIPCRICKET INC                          401 CONGRESS AVE STE 2650              AUSTIN TX 78701-3708                                                                                                                            1
                                                                                                                                                                                         85                           25,641,812
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B2030 (Form 2030) (12/15)
                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re       SITO Mobile Solutions, Inc.                                                                      Case No.
                                                                                  Debtor(s)                   Chapter       11

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                 15,000.00
             Prior to the filing of this statement I have received                                        $                 15,000.00
             Balance Due                                                                                  $                       0.00

2.     $    1,717.00        of the filing fee has been paid.

3.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):

4.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

5.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

6.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


7.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Representation of the debtors in any dischargeability actions, judicial lien avoidances, relief from stay actions or any other
               adversary proceeding.
                                                                           CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     October 7, 2020                                                              /s/ Daniel M. Stolz
     Date                                                                         Daniel M. Stolz
                                                                                  Signature of Attorney
                                                                                  WASSERMAN, JURISTA & STOLZ, P.C.
                                                                                  110 Allen Road
                                                                                  Suite 304
                                                                                  Basking Ridge, NJ 07920
                                                                                  (973) 467-2700 Fax: (973) 467-8126
                                                                                  attys@wjslaw.com
                                                                                  Name of law firm




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                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re      SITO Mobile Solutions, Inc.                                                                               Case No.
                                                                                    Debtor(s)                         Chapter        11

                                                         LIST OF EQUITY SECURITY HOLDERS
Following is the list of the Debtor's equity security holders which is prepared in accordance with rule 1007(a)(3) for filing in this Chapter 11 Case

 Name and last known address or place of                             Security Class Number of Securities                         Kind of Interest
 business of holder
 SEE ATTACHED RIDER



DECLARATION UNDER PENALTY OF PERJURY ON BEHALF OF CORPORATION OR PARTNERSHIP

        I, the CEO of the corporation named as the debtor in this case, declare under penalty of perjury that I have read the
foregoing List of Equity Security Holders and that it is true and correct to the best of my information and belief.



 Date October 7, 2020                                                        Signature /s/ Thomas Candelaria
                                                                                            Thomas Candelaria

                       Penalty for making a false statement of concealing property: Fine of up to $500,000 or imprisonment for up to 5 years or both.
                                                                        18 U.S.C. §§ 152 and 3571.




Sheet 1 of 1 in List of Equity Security Holders
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Section 6 - Part B: Equity Security Holders
           Name                                         Address                        # of shares                               Kind of Interest
Gavin Scotti                   616 Purchase Street Rye, NY 10580                           2,638,889 2 year, interest bearing note tied to company's assets and IP portfolio
Chris Scotti                   41 Sturgis Road Bronxville, NY 10708                          972,222                                      "
Stephen Baksa                  2 Woods Lane Chatham, NJ 07928                              1,527,778                                      "
Daniel Blackwell               651 Airport Road Belle Vernon, PA 15012                       277,778                                      "
Edward Giles                   17 Heights Road Manhasset, NY 11030                           277,778                                      "
Invenire Partners, LP          90 Grove Street, Suite 108 Ridgefield, CT 06877             1,388,889                                      "
Superius Securities Group, Inc 94 Grand Avenue Englewood, NJ 07631                           694,444                                      "
Ted Cooper                     65 West Hamilton Avenue Suite 1, Campbell, CA 95008           277,778                                      "
Hiroaki Aoyama                 3-7-21 Yamamoto-cho Mianami Yao City, Osaka Japan           1,388,889                                      "
Medford Bragg                  2653 Slow Flight Drive Port Orange, FL                        555,556                                      "
MediaJel, Inc                  1475 North Broadway, Suite 420 Walnut Creek, CA 94956         694,444                                      "
Gavin Scotti, Sr.              616 Purchase Street, Rye NY 10580                             277,778                                      "
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                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re      SITO Mobile Solutions, Inc.                                                            Case No.
                                                                                    Debtor(s)      Chapter    11




                                               VERIFICATION OF CREDITOR MATRIX


I, the CEO of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the

best of my knowledge.




 Date:       October 7, 2020                                             /s/ Thomas Candelaria
                                                                         Thomas Candelaria/CEO
                                                                         Signer/Title




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                        Adobe Systems, Inc.
                        f/k/a TubeMogul, Inc.
                        29322 Network Place
                        Chicago, IL 60673-1293


                        Allied Digital Strategies
                        26895 Aliso Creek Road, #B239
                        Aliso Viejo, CA 92656


                        Amazon Web Services, Inc.
                        PO Box 84023
                        Seattle, WA 98124-8423


                        American Express
                        PO Box 1270
                        Newark, NJ 07101


                        Andrea Martin, Esq.
                        Burns & Levinson LLP
                        125 High St
                        Boston, MA 02110


                        Ash Greyson/Ribbow Media Group LLC
                        900 Division Street
                        Nashville, TN 37203


                        Atom Tickets, LLC
                        2700 Colorado Blvd 4th Floor
                        Santa Monica, CA 90404


                        Avi Jamal
                        8830 Coco Plum Manor
                        Fort Lauderdale, FL 33324


                        BDO USA, LLP
                        90 Woodbridge Center Dr. 4th Fl
                        Woodbridge, NJ 07095-1163


                        Beeswax.io Corporation
                        275 7th Avenue 21st
                        New York, NY 10001


                        Bill Goldbach
                        1099 Summer Holly Lane
                        Encinitas, CA 92024
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                    Broadridge ICS
                    P.O. Box 416423
                    Boston, MA 02241-6423


                    Bruce Bernstein LLP
                    724 Periwinkle Lane
                    Wynnewood, PA 19096


                    Burke Williams & Sorenson LLP
                    444 South Flower St, Suite 2400
                    Los Angeles, CA 90071


                    Cablevision Lightpath, Inc.
                    PO Box 360111
                    Pittsburgh, PA 15251


                    Celtra, Inc.
                    545 Boylston Street, 11th
                    Boston, MA 02116


                    Chet Petrow
                    3029 S Elati Street
                    Englewood, CO 80110


                    Chris Cassidy
                    267 E. 7th Street #1
                    New York, NY 10009


                    Chris Nuckolls
                    6627 Prairie Flower Trail
                    Dallas, TX 75227


                    Chris Scotti
                    41 Sturgis Road
                    Bronxville, NY 10708


                    Cinemark USA
                    3900 Dallas Parkway Suite 500
                    Plano, TX 75093


                    Clearcode S.A. (Digimedia)
                    Sw. Antoniego
                    2/4 50-073
                    Wroclaw
                    POLAND
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                    Comptroller of Public Accounts
                    P.O. Box 149348
                    Austin, TX 78714-9348


                    comScore, Inc.
                    14140 Collection Center Dr
                    Chicago, IL 60693


                    Continental Stock Transfer and Trust Co.
                    One State Street Plaza
                    30th Fl.
                    New York, NY 10004


                    CoreLogic Spatial Solutions Attn: SS
                    P.O. Box 202351
                    Dallas, TX 75320-2351


                    Corporation Service Company
                    (CSC Delaware)
                    PO Box 13397
                    Philadelphia, PA 19101-3397


                    Crossix Solutions, Inc.
                    1001 Ave. of the Americas, 5th Floor
                    New York, NY 10018


                    Daniel Blackwell
                    651 Airport Road
                    Belle Vernon, PA 15012


                    Delaware Franchise Tax Board
                    Division of Corporations
                    PO Box 898
                    Dover, DE 19903


                    Department of Labor and Industries
                    PO Box 34974
                    Seattle, WA 98124-1974


                    Digital Place-Based Advertising Assoc.
                    205 E. 42nd St., 20th Fl.
                    New York, NY 10017
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                    Domain Listings
                    PO Box 19607
                    Las Vegas, NV 89132-0607


                    DoubleVerify, Inc.
                    PO Box 392268
                    Pittsburgh, PA 15251-9268


                    Drawbridge, Inc.
                    2121 S El Camino Real 7th Floor
                    San Mateo, CA 94403


                    Dynamic Resources, Inc.
                    9060 Palisade Ave Suite C5
                    North Bergen, NJ 07047


                    Echo Point Media (V)
                    Young & Laramore, Attn: Accounts Receiva
                    407 Fulton Street
                    Indianapolis, IN 46202


                    Edgar Agents, LLC
                    105 White Oak Lane
                    Suite 104
                    Old Bridge, NJ 08857


                    Edward Giles
                    17 Heights Road
                    Manhasset, NY 11030


                    Electronical Office Systems
                    330 Fairfield Road
                    PO Box 10303
                    Fairfield, NJ 07004-2402


                    eMedia Patch
                    Attn: Masa Campara
                    150 W 47th Street #7A
                    New York, NY 10036


                    Ernest Grijalva
                    1810 S Stevens St
                    Seattle, WA 98144
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                    Facebook, Inc.
                    1601 Willow Road
                    Menlo Park, CA 94025


                    Foursquare Labs, Inc.
                    PO Box 392184
                    Pittsburgh, PA 15251-9184


                    Fysical f/k/a BeaconsinSpace
                    1836 Broadway
                    San Francisco, CA 94109


                    Gavin Scotti
                    616 Purchase Street
                    Rye, NY 10580


                    Gavin Scotti, Sr.
                    616 Purchase Street
                    Rye, NY 10580


                    Georgia Ball
                    925 James Trail
                    Lake Alfred, FL 33850


                    Google, LLC
                    1600 Amphitheatre Parkway
                    Mountain View, CA 94043


                    Gripko Productions LLC
                    7621 12th Street #258
                    Somers, WI 53171


                    Hayden IR, LLC
                    15879 N. 80th Street, Suite 204
                    Scottsdale, AZ 85260


                    Hiroaki Aoyama
                    3-7-21 Yamamoto-cho
                    Mianami
                    Yao City, Osaka
                    JAPAN


                    InfoGroup Database License Division
                    P.O. Box 957742
                    Saint Louis, MO 63195-7742
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                    Innominds Software, Inc.
                    2055 Junction Ave, Suite 122
                    San Jose, CA 95131


                    Integral Ad Science, Inc.
                    Box 200197
                    Pittsburgh, PA 15251-0907


                    Internal Revenue Service
                    Centralized Insolvency Operation
                    PO Box 7346
                    Philadelphia, PA 19101-7346


                    Internal Revenue Service
                    Special Procedures
                    955 So. Springfield Avenue
                    Springfield, NJ 07081


                    International Credit Recovery, Inc.
                    300 Main Street PO Box 992
                    Vestal, NY 13851


                    Intrado Digital Media, LLC
                    West LLC c/o Nasdaq
                    P.O. Box 780700
                    Philadelphia, PA 19178-0700


                    Invenire Partners, LP
                    90 Grove St., Suite 108
                    Ridgefield, CT 06877


                    IPFS Financing (Lockton Companies)
                    301 W. 11th St., 4th Fl.
                    Kansas City, MO 64105


                    JAMS Inc.
                    18881 Von Karman Ave.
                    Suite 350
                    92612
                    Irvine, CA 92612


                    Jazz Foundation of America
                    247 West 37th Street, Ste 201
                    New York, NY 10018
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                    Jonathan Bond
                    34 Debrosses St Apt 227
                    New York, NY 10013


                    Juliana Lupinacci
                    1029 Garden Street Apt 2
                    Hoboken, NJ 07030


                    K&L Gates LLP
                    P.O. Box 844255
                    Boston, MA 02284-4255


                    Kayzen Realtime Technologies
                    GmbH Rosa Luxemburg Str. 2
                    10178 BERLIN


                    Koby Halbrook
                    2012 W Colorado Blvd
                    Dallas, TX 75208


                    Kochava, Inc.
                    201 Church Street
                    Sandpoint, ID 83864


                    Kramer Levin Naftalis & Frankel LLP
                    Attn: Accounting Dept.
                    1177 Avenue of the Americas
                    New York, NY 10036-2714


                    Laurie Hartnett
                    5112 N Rutherford
                    Chicago, IL 60656


                    Lindsey McKenna
                    4865 North Vanderbilt Street
                    Portland, OR 97203


                    Linkedin Corporation
                    62228 Collections Center Drive
                    Chicago, IL 60693-0622


                    Littler Mendelson PC
                    P.O. Box 207137
                    Dallas, TX 75320-7137
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                    LiveRamp, Inc. f/k/a Acxiom
                    P.O. Box 74007275
                    Chicago, IL 60674-7275


                    Location Sciences Al Ltd
                    20 Eastbourne Terrace
                    London W2 6LG
                    UNITED KINGDOM


                    Looker Data Sciences, Inc.
                    101 Church Street 4th Floor
                    Santa Cruz, CA 95060


                    Luis Serra
                    17015 164th Avenue NE
                    Woodinville, WA 98072


                    Lynn Collins Communications, Inc.
                    7 Knoll Lane
                    Glen Head, NY 11545


                    Mark Del'Priore
                    36 Navesink Ave
                    Rumson, NJ 07760


                    Marketing Accountability Standards Board
                    38 East 37th Street, Box # 5
                    New York, NY 10016


                    Massachusetts Dept of Revenue
                    PO Box 7089
                    Boston, MA 02241-7089


                    Mastercard International
                    4 Chase Metrotech Center, 7th Floor East
                    Lockbox 9084
                    Brooklyn, NY 11245-0002


                    McGuire Woods Meister Seelig & Fein LLP
                    1345 Avenue of the Americas, 7th Fl
                    New York, NY 10105-0106


                    Medford Bragg
                    2653 Slow Flight Drive
                    Port Orange, FL 32128
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                    MediaJel, Inc.
                    1475 North Broadway
                    Suite 420
                    Walnut Creek, CA 94956


                    MediaJel, Inc.
                    1475 North Broadway
                    Suite 400
                    Walnut Creek, CA 94956


                    Meister Seelig & Fein LLP
                    125 Park Avenue, 7th FL
                    New York, NY 10017


                    Melvin Wilson
                    (Solve Innovation Group)
                    81 Prospect St
                    Brooklyn, NY 11201


                    Mobile Marketing Association, Inc.
                    2020 Maltby Rd, PMB 123
                    Bothell, WA 98021


                    Mobile Technology LLC/Onspot Data
                    7193 S Poplar Street
                    Centennial, CO 80112


                    Musical.Ly Inc. (Tiktok)
                    10100 Venice Blvd, Suite 301
                    Culver City, CA 90232


                    Nacci Technologies
                    275 7th Ave., 27th Fl.
                    New York, NY 10001


                    Neustar Data Services, Inc.
                    Bank of America
                    P.O. Box 742000
                    Atlanta, GA 30374


                    New Jersey Division of Taxation
                    PO Box 666
                    Trenton, NJ 08646-0666
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                    New York State Unemployment Insurance
                    PO Box 4301
                    Binghamton, NY 13902-4301


                    Nintex f/b/a Drawloop Technologies, Inc.
                    10800 NE 8th Street, Suite 400
                    Bellevue, WA 98004


                    NYS Workers' Compensation Board Finance
                    Assessment Unit
                    328 State St, Rm 331
                    Schenectady, NY 12305


                    Oath (Americas) Inc.
                    General Post Office PO Box 5696
                    New York, NY 10087-5696


                    OpenMessage
                    712 Fifth Ave, 7th flr.
                    New York, NY 10019


                    Oracle America, Inc.
                    PO Box 203448
                    Dallas, TX 75320-3448


                    Orrick, Herrington & Sutcliffe LLP
                    2121 Main Street
                    Wheeling, WV 26003


                    Pepper Hamilton LLP
                    New York Times Building 37th Floor
                    620 Eighth Ave
                    New York, NY 10018-1405


                    Rachel Allgood Consulting LLC
                    25 Draper Street Apt. 227
                    Greenville, SC 29611


                    Ready Refresh by Nestle
                    6661 Dixie Hwy, Suite 4 #216
                    Louisville, KY 40258


                    Reddit Inc.
                    548 Market Street #16093
                    San Francisco, CA 94104-5401
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                    Reset Digital LLC
                    c/o Allscope
                    462 7th Ave.
                    New York, NY 10018


                    Ribbow Media Group LLC
                    900 Division Street
                    Nashville, TN 37203


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                                                               United States Bankruptcy Court
                                                                         District of New Jersey
 In re      SITO Mobile Solutions, Inc.                                                                     Case No.
                                                                                     Debtor(s)              Chapter    11




                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for SITO Mobile Solutions, Inc. in the above captioned action, certifies that the following
is a (are) corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of
any class of the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 October 7, 2020                                                       /s/ Daniel M. Stolz
 Date                                                                  Daniel M. Stolz
                                                                       Signature of Attorney or Litigant
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